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                                                       February 28, 2025

        BYECF
        Hon. Gary R. Brown
        United States District Judge
        Eastern District of New York
        100 Federal Plaza
        Central Islip, New York 11722

                   Re: United States v. Jacob Walden, 24 CR 521 (GRB)

        Dear Judge Brown:

                I am writing on behalf of defendant Jacob Walden to respectfully request the Court's
        intervention concerning the defendant's inability to receive certain medications noted in Your
        Honor's January 22, 2025 Medical Order to the Metropolitan Detention Center ("MDC"). See
        ECF Dkt. No. 36. Specifically, three days after the Court's January 22, 2025 Order, the MDC
        unilaterally stopped providing the defendant with Klonopin as they claimed a BOP doctor needed
        to prescribe the medication to him, and yet, due to the near continuous lockdowns at the facility,
        Mr. Walden has not been permitted to meet with a doctor since that time. Similarly, on February
        23, 2025, the MDC unilaterally stopped providing Mr. Walden with his Vyvanse prescription
        absent an examination by one of their doctors. Without this medication, which is used to treat
        his ADHD, Mr. Walden's ability to work on his defense is significantly hampered. Finally, Mr.
        Walden recently suffered a foot injury, rendering walking both difficult and painful, and he has
        similarly been unable to meet with a medical professional for diagnosis and treatment.

               Thank you for the Court's attention and consideration of this letter, I remain available for
        a conference on the matter should Your Honor deem it necessary.


                                                       Respectfully submitted,



                                                       Jeffreltman


        cc:       Leonid Sandlar, Esq.
                  Assistant United States Attorney (by ECF)
